                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   (Southern Division)
_________________________________
SHANNON MULLEN                    )
                                  )
              Plaintiff,          )
                                  )
       v.                         )             Case No. 7:23-cv-00117-FL
                                  )
ISAAC KRAMMES, in his             )
individual capacity, and          )
TOWN OF SUNSET BEACH,             )
NORTH CAROLINA,                   )
                                  )
              Defendants.         )
_________________________________ )

 NOTICE AND REPORT REGARDING PLAINTIFF’S MOTION TO COMPEL

       Pursuant to the Court’s March 20, 2024, Order (Dkt. No. 54), Plaintiff hereby

notifies the Court that the Parties have reached agreement regarding the materials sought

in Plaintiff’s Motion to Compel (Dkt. No. 31).       Accordingly, Plaintiff respectfully

withdraws her Motion to Compel (Dkt. No. 31) and requests the hearing set for 1:00 p.m.

on Wednesday, April 10, 2024, be removed from the Court’s calendar.

This the 5th day of April, 2024.                         Respectfully submitted,

EDWARDS BEIGHTOL, LLC                                    TARLTON LAW PLLC

__/s/ Catharine E. Edwards_____                          _/s/ Raymond C. Tarlton_______
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Attorneys for Plaintiff Shannon Mullen

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                             CERTIFICATE OF SERVICE

      I hereby certify that on April 5, 2024, I served on behalf of the Plaintiff the foregoing
NOTICE AND REPORT REGARDING PLAINTIFF’S MOTION TO COMPEL on
counsel for all parties in this case by filing it with the Court’s ECF system.

This the 5th day of April, 2024.
                                                    /s/ Catharine E. Edwards
                                                    Catharine E. Edwards
                                                    N.C. State Bar No.: 52705
                                                    cee@eblaw.com
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